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                                                        U.S. Department of Justice

                                                        United States Attorney
                                                        Southern District of New York


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                                                        26 Federal Plaza, 37th Floor
                                                        New York, New York 102 78


                                                        April I, 2024                   0
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ByECF

The Honorable Sidney H. Stein

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United States District Judge
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Southern District of New York
Daniel Patrick Moynihan United States Courthouse
5 00 Pearl Street
New York, New York 10007                                          a,;A J.                      }
         Re:      United States v. Robert Menendez, et al.,
                  S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes in the above-captioned matter to requestthatthe Court
order the defendants to provide particularized notice by April 4, 2024 as to (I) whether, and (2) if
so, on what bases, they intend to invoke at trial any affirmative defense, including that set forth in
the Foreign Agents Registration Act ("FARA") for "activities not serving predominantly a foreign
interest." 22 U.S.C. § 6 l 3(d). Although the Government presently expects to reach an agreed-
upon schedule for the remaining outstanding pretrial deadlines, the parties have reached an
impasse on this one issue. For the reasons set forth below, absent such notice meaningfully in
advance of trial, there is a substantial risk of delay or disruption of the trial pending litigation and
a ruling regarding the scope of the defense and/or a corresponding waiver of any otherwise-
applicable protection under the Speech or Debate Clause. Indeed, absent such notice meaningfully
in advance of trial, there may be multiple rounds of litigation and rulings, including during trial.
Accordingly, the Government now asks the Court to direct pretrial notice on this specific issue .

    I.         The Parties' Negotiations to Date Regarding Outstanding Pretrial Deadlines and
               Disclosures

       The parties have conferred extensively regarding outstanding pretrial deadlines and
disclosures, including disclosures from the defense, for which there are no ordered deadlines.
Those discussions have been productive and have resulted in a significant narrowing of potential
disputes. Although the parties have not yet reached a final agreement on all of the outstanding
deadlines and related matters, the Government is hopeful that the parties will reach an acceptable
compromise to present to the Court this week.

        However, separate from deadlines for defense disclosures, the parties have reached an
impasse regarding the scope of defense disclosures. Specifically, the Government has requested
that the defendants provide notice of any affirmative defenses that they may seek to invoke at trial,
including, as is relevant to the two foreign agent charges, for " activities not serving predominantly
